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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                    )
                                             )
               v.                            )       Crim. No. 16-10137-LTS
                                             )
(1) KENNETH BRISSETTE, and                   )
(2) TIMOTHY SULLIVAN                         )
                                             )

             GOVERNMENT=S OPPOSITION TO DEFENDANTS’
MOTION IN LIMINE TO PRECLUDE USE OF THE TERM “CITY HALL” TO REFER
 GENERALLY TO DEFENDANTS, CITY EMPLOYEES OR CITY DEPARTMENTS

       The United States of America, by Andrew E. Lelling, United States Attorney, and Laura

J. Kaplan and Kristina E. Barclay, Assistant United States Attorneys for the District of

Massachusetts, hereby opposes Defendants’ Motion in Limine to Preclude Use of the Term “City

Hall” to Refer Generally to Defendants, City Employees or City Departments (Docket No. 245)

(the Motion). The Defendants’ argument in support of the Motion goes too far, by alleging that

the government intends to offer false or inaccurate testimony in violation of their due process

rights and prosecutorial standards. The government intends to elicit truthful testimony from its

witnesses about what harm they believed – based on the words and actions of the defendants,

their coconspirator, other City of Boston employees and Mayor Martin J. Walsh himself – the

defendants could inflict on Crashline Productions if the company did not agree to hire union

workers for the September 2014 Boston Calling concert. Whether that belief was accurate is

irrelevant; whether the belief was reasonable under the circumstances is the question a jury will

need to answer at trial.

       The defendants’ Motion is based entirely on the premise that they had no “regulatory

authority” over the permits that Crash Line needed for the Boston Calling music festival.



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However, it is irrelevant whether the defendants actually had “regulatory authority” over the

entertainment license, which was the last piece of paper Crash Line needed for its September

2014 concert when its representatives were called into City Hall to talk about union workers.

“To establish extortion through fear of economic loss, the government must “show that the

victim believed that economic loss would result from his ... failure to comply with the alleged

extortionist’s terms, and that the circumstances ... rendered that fear reasonable.” United States

v. Rivera Rangel, 396 F.3d 476, 483 (1st Cir. 2005) (quoting United States v. Bucci, 839 F.2d

825, 828 (1st Cir. 1988)); see also United States v. Capo, 817 F.2d 947, 951 (2d Cir. 1987)

(“[T]he proof need establish that the victim reasonably believed: first, that the defendant had the

power to harm the victim, and second, that the defendant would exploit that power to the

victim’s detriment.” (emphasis in original)).

       The government’s anticipated evidence will demonstrate that Brian Appel and Mike

Snow reasonably believed that the defendants had the power to influence permitting and

licensing. First and foremost, at a February 2014 meeting, Mayor Walsh told Crash Line

representatives that if they ever needed anything, they “were in good hands with” Kenneth

Brissette, or that Brissette was “your guy,” and that they should also contact the Mayor directly if

they needed anything. Appel also explained that Brissette ran the Special Events meetings in

2014, attended by Crash Line and the City agencies from which Crash Line needed permits,

which were the first step in the entertainment license process. In addition, Brissette was present

for and participated in an August 19, 2014 meeting with Appel and Snow at which the permitting

difficulties and Brissette’s request that the company use union labor were discussed. In fact, the

government anticipates that its evidence will demonstrate that, for Crash Line representatives

and even for those working at City Hall, the lines between who had “regulatory authority” for

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permits and the entertainment license and those who did not was blurred, and not as clear-cut as

the defendants argue in their Motion. For example, despite Patricia Malone’s insistence that she

had sole authority over the entertainment license for Boston Calling, she admitted that Mayor

Walsh called her before the May 2014 concert and asked her to change the hours for alcohol

service at the concert, and that she changed the hours on the entertainment license at his request.

       Moreover, the defendants ignore the undisputed evidence that it was not just Crash Line’s

belief that the defendants could influence their permits and licenses. In fact, Brissette actually

was involved in the permitting and licensing process for Boston Calling. Brissette ran the

Special Events meetings at which permits were discussed and debated. Brissette’s boss, John

Barrows, testified that Brissette “helps to walk out the permitting process for big events, for large

events” and that in 2014, Brissette was responsible for coordination of permits other than those

related to the Boston Redevelopment Authority and liquor licensing. Brissette himself told

agents during a July 30, 2015 interview that he helped the permit process become more

streamlined and easier to get through. With respect to Boston Calling specifically, Barrows

testified that Brissette talked to him about Crash Line being upset with permitting. The day

after the August 19, 2014 meeting with Crash Line described above, Brissette was included on

an email from Coconspirator 1 regarding her contact with then-Boston Police Commissioner

William Evans about Crash Line’s concerns with the permits and licenses. 1

       That Brian Appel grouped City Hall departments into one entity, and did not see Brissette

as solely being involved in Special Events (as opposed to Licensing and Consumer Affairs) is


       1
         Notably, the defendants do not dispute that they had some authority over the grant of a
long-term license agreement to use City Hall Plaza. Parsing the use of “City Hall” during
testimony regarding the permitting process would be confusing, given that the term “City Hall”
may be used during testimony about the long-term license agreement.

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not surprising, given Mayor Walsh’s direction to use Brissette as Crash Line’s liaison with City

Hall and Brissette’s involvement in the process described above. In fact, when asked how he

felt about the September 2, 2014 meeting at which the defendants demanded that Crash Line hire

IATSE workers for the imminent concert, Appel told investigators, “These guys are my

landlords,” and he believed Brissette and Sullivan could have issued permits with reduced times

that would ultimately lead to the demise of Boston Calling.

       The victims cannot tell their side of the Boston Calling story without using the term “City

Hall” – during the events in question, both defendants were employees of the City of Boston,

both defendants worked at City Hall, the September 2014 concert was set to take place on City

Hall Plaza. Moreover, the victims believed the defendants had the power to affect their permits,

the entertainment license, and the long-term license agreement. Even if the defendants did not

have such power, the victims’ truthful testimony about their perception at the time is critical

evidence in an extortion case, and in no way infringes the defendants’ Due Process rights or

prejudices them in any way. To the extent the victims use the term “City Hall” and the

defendants feel clarification is necessary, the witnesses will be available for cross-examination.

         WHEREFORE, for the reasons set forth herein, the government respectfully requests

that the Court deny the Motion.

                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney

                                      By:     /s/ Kristina E. Barclay
                                              Laura J. Kaplan
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                                CERTIFICATE OF SERVICE


       I hereby certify that, on the date below, this document was served on counsel for the
defendants by electronic mail.

                                                    /s/ Kristina E. Barclay
                                                    KRISTINA E. BARCLAY
                                                    Assistant U.S. Attorney

Dated: May 31, 2019




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